Case 1:16-cv-05275-RRM-SMG Document 1 Filed 09/22/16 Page 1 of 6 PageID #: 1




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------X

   CHARLES LATIMORE

                    PLAINTIFFS
                                                                      COMPLAINT


           - Against -                                                CV-16-05275


   The City of New York, DETECTIVE DUDLEY EWALD,
   Shield No.: 327, DETECTIVE NOEL LAWRENCE,
   Shield No.: 6498, and Police Officers JOHN and
   JANE DOE 1 through 10, individually and in their official
   capacities, the true names of JOHN and JANE DOE,
   1 through 10, presently unknown.

                    DEFENDANTS

   ---------------------------------------------------------------X

           Plaintiff Charles Latimore by his attorney, RAOUL ZALTZBERG, ESQ., of
   Zaltzberg & Hutchinson, LLC., complaining of the defendants, respectfully alleges as
   follows:


                                   PRELIMINARY STATEMENT
   1. Plaintiff brings this action for compensatory damages, punitive damages and
       attorney’s fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988 for violations of
       their civil rights, as said rights are secured by said statutes and the Constitutions of
       the State of New York and the United States.
                                        JURISDICTION & VENUE
   2. This action is brought pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988, and the
       Fourth and Fourteenth Amendments to the United States Constitution.
   3. Jurisdiction is founded upon 28 U.S.C. §§ 1331, 1343, and 1367.
   4. Venue is properly laid in the Eastern District of New York under 28 U.S.C. §
       1391(b), in that this is the District in which the claim arose.
Case 1:16-cv-05275-RRM-SMG Document 1 Filed 09/22/16 Page 2 of 6 PageID #: 2




                                          JURY DEMAND
   5. Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to
      Fed. R. Civ. P. 38(b).
                                              PARTIES
   6. Plaintiff is a resident of Kings County in the State of New York.
   7. Defendant City of New York is a municipal corporation organized under the law of
      the State of New York. It operates the New York City Police Department, a
      department or agency of defendant City of New York responsible for the
      appointment, training, supervision, promotion and discipline of police officers and
      supervisory police officers, including the individually named defendants herein.
   8. Defendant Police Detective Dudley Ewald (“Ewald”), Shield No.327; at all times
      relevant herein, was an officer, employee and agent of the NYPD. Defendant Ewald
      is sued in his individual and official capacity.
   9. Defendant Police Officer Noel Lawrence (“Lawrence”), Shield No. 6498; at all times
      relevant herein, was an officer, employee and agent of the NYPD. Defendant
      Lawrence is sued in his individual and official capacity.
   10. At all times hereinafter defendants P.O.’s “JOHN DOE” #1-10 were duly sworn
      police officers of the NYPD, and were acting as agents, servants and employees of
      defendant City of New York and the NYPD. Defendants John Doe #1-10 are sued in
      their individual and official capacities.
   11. At all times hereinafter mentioned the defendants, either personally or through their
      employees, were acting under color of state law and/or in compliance with the official
      rules, regulations, laws, statutes, customs, usages and/or practices of the State or City
      of New York.
                                     STATEMENT OF FACTS
   12. On January 13, 2016 at approximately 6:00 a.m. inside of 619 East 108 Street in
      Kings County. Mr. Latimore was asleep, with his girlfriend, Tysha Buckner, on his
      friend Darrell Castello’s living room couch.
   13. Defendants, including Lawrence, entered the apartment with a search warrant looking
      for Darrell Castello.
   14. Defendants, grabbed plaintiff and threw plaintiff down to the ground.
Case 1:16-cv-05275-RRM-SMG Document 1 Filed 09/22/16 Page 3 of 6 PageID #: 3




   15. Defendants then tell plaintiff to “shut the fuck up,” then arrested plaintiff.
   16. Plaintiff was then taken to the 69th Precinct.
   17. He was then transported to Manhattan Central Booking to await arraignment.
   18. While plaintiff was in Central Booking, Lawrence and his fellow officer, acting in
      concert and with malice, conveyed false information to prosecutors in order to have
      plaintiff prosecuted for Criminal Possession and Criminal Sale of a Controlled
      Substance in the Third Degree.
   19. Plaintiff was arraigned in Criminal Court, New York County and had bail set on his
      case in the amount of $5,000. The case was adjourned for his Criminal Procedure
      Law §180.80 date.
   20. On January 15, all criminal charges filed against plaintiff were dismissed.
   21. Plaintiff spent over 72 hours in police custody.
                                   FIRST CLAIM FOR RELIEF
          DEPRIVATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983
   22. Plaintiff repeats and realleges each and every allegation set forth herein.
   23. All of the aforementioned acts of defendants, their agents, servants, and employees,
      were carried out under the color of state law.
   24. All of the aforementioned acts deprived plaintiff of the rights privileges, and
      immunities guaranteed to citizens of the United States by the First, Fourth, Fifth,
      Eighth and Fourteenth Amendments to the Constitution of the United States of
      America, and are in violation of 42 U.S.C. § 1983.
   25. The aforementioned individual defendants in their capacities as police officers
      carried out the acts complained of, with all of the actual and/or apparent authority
      attendant thereto.
   26. The acts complained of were carried out by the aforementioned individual defendants
      in their capacities as police officers, pursuant to the customs, usages, practices,
      procedures, and the rules of the City of New York and the New York City Police
      Department, all under the supervision of ranking officers of said department.
   27. Defendants, Collectively and individually, while acting under the color of state law,
      engaged in conduct that constituted a custom, usage, practice, procedure or rule of the
Case 1:16-cv-05275-RRM-SMG Document 1 Filed 09/22/16 Page 4 of 6 PageID #: 4




      respective municipality/authority, which is forbidden by the Constitution of the
      United States.
                                 SECOND CLAIM FOR RELIEF
                 UNLAWFUL STOP AND SEARCH UNDER 42 U.S.C. § 1983
   28. Plaintiff repeats and realleges each and every allegation set forth herein.
   29. Defendants violated the Fourth and Fourteenth Amendments because they stopped
      and searched plaintiff without reasonable suspicion.
   30. As a direct and proximate result of this unlawful conduct, plaintiff sustained the
      damages herein before alleged.
                               THIRD CLAIM FOR RELIEF
                           FALSE ARREST UNDER 42 U.S.C. §1983
   31. Plaintiff repeats and realleges each and every allegation set forth herein.
   32. No officer observed plaintiff commit a crime on June 16, 2015.
   33. At no time on June 16, 2015 did the plaintiff commit a crime.
   34. As a result of the aforesaid conduct by defendants, plaintiff was subjected to illegal,
      improper and false arrest by the defendants and taken into custody, caused to be
      falsely imprisoned, detained and confined without any probable cause.
   35. As a result of the foregoing, plaintiff’s liberty was restricted for an extended period
      of time, he was put in fear for his safety, and he was humiliated and subjected to
      handcuffing and other physical restraints without probable cause.
                                 FOURTH CLAIM FOR RELIEF
                   FABRICATION OF EVIDENCE UNDER 42 U.S.C. §1983
   36. Plaintiff repeats and realleges each and every allegation set forth herein.
   37. The individual defendants created false evidence against the plaintiff and forwarded
      such false evidence to the Manhattan County District Attorney’s Office.
   38. In creating such false evidence, the defendants violated each of the plaintiff’s
      constitutional rights to due process.
   39. The aforesaid conduct by the City of New York violated plaintiff’s rights under 42
      U.S.C. §1983 and the Fifth and Fourteenth Amendments to the United States
      Constitution.
Case 1:16-cv-05275-RRM-SMG Document 1 Filed 09/22/16 Page 5 of 6 PageID #: 5




   40. As a direct and proximate result of this unlawful conduct, the plaintiff sustained the
      damages alleged herein.
                                   FIFTH CLAIM FOR RELIEF
                                   MALICIOUS PROSECUTION
   41. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
   42. By their conduct, as described herein, and acting under color of state law, defendants
      are liable to plaintiff under 42 U.S.C. § 1983 for the violation of his constitutional
      right to be free from malicious prosecution under the Fourth and Fourteenth
      Amendments to the United States Constitution.
   43. Defendants’ unlawful actions were done willfully, knowingly, with malice and with
      the specific intent to deprive plaintiff of his constitutional rights. The prosecution by
      defendants of plaintiff constituted malicious prosecution in that there was no basis for
      the plaintiff’s arrest, yet defendants continued with the prosecution, which was
      resolved in plaintiff’s favor.
   44. As a direct and proximate result of defendants’ unlawful actions, plaintiff has
      suffered, and will continue to suffer, damages, including physical, mental and
      emotional injury and pain, mental anguish, suffering, humiliation, embarrassment and
      loss of reputation.
                                          SIXTH CLAIM
                                       FAILURE TO INTERVENE
   45. Plaintiff repeats and realleges each and every allegation as if fully set forth herein.
   46. Those defendants that were present but did not actively participate in the
      aforementioned unlawful conduct observed such conduct, had an opportunity prevent
      such conduct, had a duty to intervene and prevent such conduct and failed to
      intervene.
   47. As a direct and proximate result of this unlawful conduct, Plaintiff sustained the
      damages hereinbefore alleged.


   WHEREFORE, plaintiff respectfully requests judgment against defendants as follows:
       I. Compensatory damages against all defendants, jointly and severally;
      II. Punitive damages against the individual defendants, jointly and severally;
Case 1:16-cv-05275-RRM-SMG Document 1 Filed 09/22/16 Page 6 of 6 PageID #: 6




    III. Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and
    IV. Such other and further relief as this Court deems just and proper.


   DATED:       September 22, 2016
                New York, New York

                                                      _____/s/________________
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